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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI



Michael Duffy, on behalf of himself and all             Civil Action No.: 4:19-cv-1189-NCC
others similarly situated,

                         Plaintiff,

             vs.

Anheuser-Busch Companies, LLC,

                         Defendant.                     CLASS ACTION


                                      AMENDED COMPLAINT

       Plaintiff Michael Duffy, by and through his attorneys, on behalf of himself and all others

similarly situated, based on personal knowledge with respect to his own circumstances and based

upon information and belief pursuant to the investigation of his counsel as to all other allegations,

alleges the following.

                                        INTRODUCTION

       1.      This is a class action against Anheuser-Busch Companies, LLC (“A-B”)

concerning its failure to pay benefits under the Anheuser-Busch Defined Benefit Companies

Pension Plan (the “Plan”) in amounts that are actuarially equivalent to a single life annuity, as

required by the Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001, et seq.

(“ERISA”). By not offering joint and survivor annuities (“JSAs”) that are actuarially equivalent

to a single life annuity, A-B is causing retirees to receive lower monthly pension benefits than they

are entitled to in violation of ERISA §§ 205(d) and 203(a), 29 U.S.C. §§ 1055(d) and 1053(a).

       2.      Participants in the Plan accrue pension benefits in the form of a single life annuity

(“SLA”) while they work for A-B, a payment stream that starts when they retire and ends when
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they die. When they retire, participants can receive their retirement benefits as a SLA or in one of

several JSAs, a benefit form which provides an annuity during the participant’s life and then

reduced annuity to the participant’s spouse after the participant’s death. ERISA requires that JSAs

be “actuarially equivalent” to an SLA, meaning that the present value of the payment streams must

be equal. See 29 U.S.C. § 1055(d)(1)(B) and (2)(A)(ii).

         3.    To calculate the present value of the various JSAs offered under the Plan, A-B

applies actuarial assumptions. These assumptions are based on a set of mortality tables and interest

rates. The mortality table and interest rate together are used to calculate a “conversion factor”

which is used to determine equivalence between the SLA and the optional benefit. The present

value of the SLA must equal the present value of the optional benefit for the two forms of payment

to be “actuarially equivalent.”

         4.    Mortality rates have generally improved over time with advances in medicine and

better collective lifestyle habits. People who retired recently are expected to live longer than those

who retired in previous generations. Older morality tables predict that people will die at a faster

rate than current mortality tables. As a result, using an older mortality table to calculate a

conversion factor decreases the present value of the optional benefit forms and—interest rates

being equal—the monthly payment retirees receive under those benefit forms.

         5.    A-B calculates the conversion factor (and thus the value of the JSAs) using the 1984

Unisex Pension mortality table (“UP-84”). The UP-84 table was published in 1976, and was

based on data from 1965–1970. 1 Although the UP-84 table attempted to account for likely

increases in life expectancy in each of the years between its date of publication and 1984 by


1
       Paul Jackson & William Fellers, The UP-1984 – A “Unisex” Mortality Table For Non-
Insured Pension Plans, at 37 Table 10 (Aug. 26, 1976), available at https://www.actuaries.org/
IACA/Colloquia/Sydney1976/Vol_1/Jackson_Fellers.pdf (last viewed April 1, 2019).


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extrapolating from increases in life expectancy for the period from 1957-1967, these projections

ended up understating actual improvements in life expectancy from 1976-1984. 2

         6.    Defendant’s use of the UP-84 table depresses the present value of the JSAs offered

under the Plan, resulting in benefits that are not actuarially equivalent to the SLA; rather, the JSAs

are materially lower than they would be if the Plan used reasonable, current actuarial assumptions.

A-B use outdated actuarial assumptions to pay benefits under the Plan even though it uses current,

updated assumptions to calculate the benefits A-B expects to pay retirees.

         7.    By using outdated mortality assumptions, A-B caused Plaintiff, who worked for A-

B for over 17 years, to receive a JSA that was not actuarially equivalent to the SLA he accrued

and to forfeit part of his retirement benefits in violation of ERISA. This improper reduction causes

Plaintiff to receive less each month than he should, reducing the present value of his benefits by

more than $4,300.

         8.    Accordingly, Plaintiff seeks an Order from the Court reforming the Plan to conform

to ERISA, payment of future benefits in accordance with the reformed Plan and, as required under

ERISA, payment of amounts improperly withheld, and such other relief as the Court determines

to be just and equitable.

                                 JURISDICTION AND VENUE

         9.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it is a civil action arising under the laws of the United States, and pursuant to 29

U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of

ERISA.



2
       See Society of Actuaries, San Francisco Annual Meeting, Session 39PD, at 2 (Record,
Vol. 25, No. 3, Oct. 17-20, 1999).


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       10.     This Court has personal jurisdiction over A-B because it is headquartered and

transact business in, or resides in, and has significant contacts with, this District, and because

ERISA provides for nationwide service of process.

       11.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and A-B

resides and may be found in this District. Venue is also proper in this District pursuant to 28

U.S.C. § 1391 because A-B does business in this District and a substantial part of the events or

omissions giving rise to the claims asserted herein occurred within this District.

                                             PARTIES

       Plaintiff

       12.     Plaintiff Michael Duffy is a resident of St. Petersburg, Florida, and a Participant in

the Plan. Mr. Duffy worked for Busch Entertainment Corporation from 1992 through 2009,

accruing a pension in the Anheuser-Busch Companies Pension Plan (the “ABC Plan”). He started

receiving retirement benefits under the ABC Plan on January 1, 2018, when he was 65. Mr. Duffy

is receiving a joint and survivor annuity.

       Defendants

       13.     Defendant A-B is an American brewing company headquartered in St. Louis,

Missouri. A-B is a subsidiary of Anheuser-Busch InBev SA/NV. A-B was the sponsor and Plan

Administrator of the ABC Plan until September 2018. Since September 2018, A-B has been the

sponsor and Plan Administrator of the Plan.

                          APPLICABLE ERISA REQUIREMENTS

                    Pension Benefit Options Must Be Actuarially Equivalent




                                                 4
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      14.      ERISA requires that benefits from a defined benefit plan be paid to married

participants in the form of a qualified joint and survivor annuity (a “QJSA”) unless the participant,

with the consent of his or her spouse, elects an alternative form of payment, making the QJSA the

default benefit for employees who are married. See ERISA § 205(a) and (b), 29 U.S.C. § 1055(a)

and (b).

      15.      A QJSA is an annuity for the life of the plan participant with a survivor benefit for

the life of the spouse that is not less than 50%, and not greater than 100% of the annuity payable

during the joint lives of the participant and the spouse. See ERISA § 205(d)(1), 29 U.S.C.

§ 1055(d)(1). For example, if a plan participant receives $1,000 per month under a 50% joint and

survivor annuity, the spouse will receive $500 a month for the rest of the spouse’s life after the

participant’s death.

      16.      For unmarried participants, the QJSA is an SLA. See 26 C.F.R. § 1.401(a)-20,

Q&A 25.

      17.      Pension plans may also offer participants alternative forms of survivor annuities,

known as qualified optional survivor annuities (“QOSAs”). See ERISA § 205(d)(2), 29 U.S.C.

§ 1055(d)(2); see also 26 U.S.C. § 417(g).

      18.      ERISA also requires that defined benefit plans provide a qualified pre-retirement

survivor annuity (“QPSA”). ERISA § 205(a)(2), 29 U.S.C. § 1055(a)(2). A QPSA is an annuity

for the life of the participant’s surviving spouse (i.e. a beneficiary) if the participant dies before

reaching the plan’s normal retirement age. See ERISA § 205(e), 29 U.S.C. § 1055(e).

      19.      A QJSA must be actuarially equivalent to a single life annuity (“SLA”). See 29

U.S.C. § 1055(d)(1); 26 U.S.C. § 417(b).




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        20.    The Treasury regulations for the Internal Revenue Code (the “Tax Code”) provision

corresponding to ERISA § 205 (26 U.S.C. § 401(a)(11)), similarly provide that a QJSA “must be

at least the actuarial equivalence of the normal form of life annuity or, if greater, of any optional

form of life annuity offered under the plan.” 3 Indeed, a QJSA “must be at least as valuable as any

other optional form of benefit under the plan at the same time.” 26 C.F.R. § 1.401(a)-20 Q&A 16.

        21.    Both ERISA and the Tax Code require that a QOSA be actuarially equivalent to the

SLA the participant could take at the same time. See 29 U.S.C. § 1055(d)(2); 26 U.S.C. § 417(g).

        22.    A QPSA must be actuarially equivalent to what the surviving spouse would have

received under the plan’s QJSA and any QOSAs. See ERISA § 205(e)(1)(A), 29 U.S.C.

§ 1055(e)(1)(A).

        23.    ERISA does not require that pension plans offer lump sum distributions of vested

benefits to retirees upon their retirement. See ERISA § 205(g), 29 U.S.C. § 1055(g). However, if

plans offer a lump sum distribution as an optional benefit, ERISA § 205(g)(3), 29 U.S.C.

§ 1055(g)(3), requires that the present value of the lump sum be determined using the applicable
                                                     4
mortality table (the “Treasury Mortality Table”)         and applicable interest rate (the “Treasury

Interest Rate”) 5 (collectively, the “Treasury Assumptions”), which are set by the Secretary of the

Treasury (the “Secretary”) pursuant to IRC §§ 417(e) and 430(h), and which are regularly updated




3
         26 C.F.R. § 1.401(a)-11(b) (2). The term “life annuity” includes annuities with terms
certain in addition to single life annuities. As the Treasury regulations explain, “[t]he term ‘life
annuity’ means an annuity that provides retirement payments and requires that survival of the
participant or his spouse as one of the conditions for payment or possible payment under the
annuity. For example, annuities that make payments for 10 years or until death, whichever occurs
first or whichever occurs last, are life annuities.” 26 C.F.R. § 1.401(a)-11(b)(1)(i)
4
         26 C.F.R. § 1430(h)(2)-1
5
         26 C.F.R. § 1430(3)-1


                                                 6
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to reflect current market rates and mortality assumptions. See 29 U.S.C. § 1055(g)(3)(B); 29

U.S.C. § 1083(h), 26 U.S.C. §§ 417(e) and 430(h).

        24.    ERISA § 203(a), 29 U.S.C. § 1053(a), provides that an employee’s right to the

vested portion of his or her normal retirement benefit is non-forfeitable. ERISA § 204(c)(3), 29

U.S.C. § 1054(c)(3), provides that if an employee’s accrued benefit is in the form other than an

SLA, the accrued benefit “shall be the actuarial equivalent” of an SLA.

        25.    The Treasury regulation for the Tax Code provision corresponding to ERISA § 203

(26 U.S.C. § 411), states that “adjustments in excess of reasonable actuarial reductions, can result

in rights being forfeitable.” 26 C.F.R. § 1.411(a)-4(a).

           Reasonable Factors Must be Used When Calculating Actuarial Equivalence

        26.    “Two modes of payment are actuarially equivalent when their present values are

equal under a given set of assumptions.” Stephens v. US Airways Group, Inc., 644 F.3d 437, 440

(D.C. Cir. 2011) (emphasis added). 6 Actuarial equivalence should be “cost-neutral,” meaning that

neither the Plan nor the participants should be better or worse off if the participant selects either

the normal retirement benefit or an optional form of benefit. See Bird v. Eastman Kodak Co., 390

F. Supp. 2d 1117, 1119–20 (M.D. Fla. 2005); see also Jeff L. Schwartzmann & Ralph Garfield,

Education & Examination Comm. of the Society of Actuaries, Actuarially Equivalent Benefits 1,

EA1–24–91 (1991). .

        27.    Under ERISA, “present value” means “the value adjusted to reflect anticipated

events.” Such adjustments shall conform to such regulations as the Secretary of the Treasury may




6
       “Equivalent” means “equal.” https://www.merriam-webster.com/dictionary/equivalent
“Equal” means the “same.” https://www.merriam-webster.com/dictionary/equal


                                                 7
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prescribe.” ERISA § 3(27), 29 U.S.C. § 1002(27). The Secretary has prescribed numerous

regulations describing how present value should reasonably reflect anticipated events, including:

                (a)     The Treasury regulation concerning QJSAs provides that “[e]quivalence

may be determined, on the basis of consistently applied reasonable actuarial factors, for each

participant or for all participants or reasonable groupings of participants.” 26 C.F.R. § 401(a)-

11(b)(2) (emphasis added).

                (b)     A plan must determine optional benefits using “a single set of interest and

mortality assumptions that are reasonable . . . .” 26 C.F.R. § 1.417(a)(3)-1(c)(2)(iv) (emphasis

added).

                (c)     With respect to benefits under a lump sum-based formula, any optional form

of benefit must be “at least the actuarial equivalent, using reasonable actuarial assumptions . . .

.” 26 C.F.R. § 1.411(a)(13)-1(b)(3) (emphasis added).

                                SUBSTANTIVE ALLEGATIONS

I.        THE PLAN

          28.   A-B established the ABC Plan to retirement benefits to eligible employees.

Effective September 13, 2018, A-B spun-off the ABC Plan’s assets and liabilities and merged them

into Pension Plan for Certain Newark Hourly Employees of Anheuser-Busch (the “CHNE Plan”).

A-B then changed the name of the CHNE Plan to the Anheuser-Busch Defined Benefit Plan, which

Plaintiff refers to as the “Plan.”

          29.   Plaintiff’s pension benefits were among the liabilities merged into the Plan.

Plaintiff was a participant in the ABC Plan before it terminated and is now a participant in the

Plan.




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       30.     A-B also merged the Retirement Plan for Certain Employees of Anheuser-Busch

and InBev USA (the “InBev Plan”) and the Retirement Plan for Certain Agricultural, Brewery and

Packaging Hourly Employees (the “ABP Plan”) into the Plan effective September 13, 2018.

       31.     Since the mergers, the ABC Plan, the CHNE Plan, the InBev Plan and the ABP

Plan have operated has sub-parts of the Plan. Participants’ benefits are determined in accordance

with the accrual formula in the plan in which they participated before the merger, all of which have

a similar structure. Under the ABC Sub-Part, the CHNE Sub-Part, the InBev Sub-Part and the

ABP Sub-Part, participants earn benefits in the form of an SLA beginning at age 65, with the

amount based on their compensation and how many years they worked for A-B.

       32.     In addition to the SLA, the Plan offers several JSAs including: (a) 50% JSA, a 66

and 2/3% JSA, a 75% JSA and a 100% JSA in the ABC Sub-Part; (b) a 50% JSA, a 75% JSA and

a 100% JSA in the CHNE Plan; (c) a 50% JSA, a 75% JSA and a 100% JSA in the InBev Sub-

Part; and (d) a 50% JSA, a 66 and 2/3% JSA and a 75% JSA in the ABP Sub-Part.

       33.     A-B calculates most JSAs using the UP-84 mortality table and a 6.5% interest rate,

but uses the UP-84 mortality table and a 7% interest rate for certain sub-groups in the ABC Sub-

Part and the InBev Sub-Part.

II.    The JSAs Are Not Actuarially Equivalent to the SLA Participants Earn Under the
       Plan.

       A.      Converting a SLA to a JSA.

       34.     All of the Plan’s JSAs are either “qualified joint and survivor annuities” (“QJSAs”)

or “qualified optional survivor annuities” (“QOSAs”) under ERISA. As set forth above, ERISA

requires that QJSAs and QOSAs be the “actuarial equivalent” of an SLA. See ERISA §§ 205(d)(1)

and (2), 29 U.S.C. § 1055(d)(1) and (2).




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       35.     To convert an SLA, the form in which a participant accrued benefits, into a JSA,

the present value of the aggregate (i.e. the total) future benefits that the participant (and, if

applicable, the beneficiary) is expected to receive under must be determined. 7 The present values

are then compared to determine the conversion factor. There are two main components of these

present value calculations: an interest rate and a mortality table.

       36.     An interest rate is used to determine the present value of each future payment. This

is based on the time value of money, meaning that money available now is worth more than the

same amount in the future due to the ability to earn investment returns. The rate that is used is

often called a “discount rate” because it discounts the value of a future payment.

       37.     As discussed above, the interest rate used by a defined benefit plan to calculate

present value must be reasonable based on prevailing market conditions, which “reflect anticipated

events.” See 29 U.S.C. § 1002(27). The interest rate may be broken into segments of short-term,

medium-term, and long-term expectations pertaining to each future payment. See e.g. 29 U.S.C.

§§ 1055(g)(3)(B)(iii), 1083(h)(2).

       38.     A mortality table is a series of rates which predict how many people at a given age

will die before attaining the next higher age.

       39.     More recent mortality tables are “two-dimensional” in that the rates are based not

only on the age of the individual but the year of birth. The Society of Actuaries (“SOA”), an

independent actuarial group, publishes the mortality tables that are the most widely-used by

defined benefit plans when doing these conversions. The SOA published mortality tables in 1971

(the “1971 GAM”), 1976 (the “UP-84”), 1983 (the “1983 GAM”), 1994 (the “1994 GAR”), 2000




7
        The conversion factor is easily calculated by a computer model. Defendants simply input
the assumptions and the model instantaneously calculates the conversion factor.


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(the “RP-2000”), and 2014 (“RP-2014”) to account for changes to a population’s mortality

experience.

        40.       Since at least the 1980s, the life expectancies in mortality tables have steadily

improved as shown below:




Source: Aon Hewitt, Society of Actuaries Finalizes New Mortality Assumptions: The Financial

and Strategic Implication for Pension Plan Sponsors (November 2014), at 1. According to this

paper, there have been “increasing life expectancies over time” and just moving from the 2000

mortality table to the 2014 table would increase pension liabilities by 7%.

        41.       Pursuant to Actuarial Standard of Practice No. 35, para. 3.5.3 of the Actuarial

Standards Board, 8 actuarial tables must be adjusted on an ongoing basis to reflect improvements

in mortality. 9



8
       Courts look to professional actuarial standards as part of this analysis. See, e.g., Stephens
v. US Airways Group, Inc., 644 F.3d 437, 440 (D.C. Cir. 2011) (citing Jeff L. Schwartzmann &
Ralph Garfield, Education & Examination Comm. of the Society of Actuaries, Actuarially
Equivalent Benefits 1, EA1–24–91 (1991)).
9
       Available at: http://www.actuarialstandardsboard.org/asops/selection-of-demographic-
and-other-noneconomic-assumptions-for-measuring-pension-obligations/#353-mortality-and-
mortality-improvement


                                                 11
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       42.     Accordingly, in the years between the publication of a new mortality table,

mortality rates are often “projected” to future years to account for expected improvements in

mortality. For example, in 2017, the Treasury Mortality Table was the RP-2000 mortality table

adjusted for mortality improvement using Projection Scale AA to reflect the impact of expected

improvements in mortality (the “2017 Treasury Mortality Table”). See IRS Notice 2016-50. 10 In

2018, the Treasury Mortality Table was the RP-2014 mortality table projected to account for

additional improvement in mortality rates that have occurred since 2014 (the “2018 Treasury

Mortality Table”). See IRS Notice 2017-60. 11

       43.     For purposes of the present value analysis under ERISA, the mortality table must

be updated and reasonable “to reflect anticipated events.” 29 U.S.C. § 1002 (27). The Treasury

Mortality Tables are updated and reasonable. See 26 C.F.R. § 1.417(a)(3)-1(c)(2)(iv).

       44.     Using the selected interest rate and mortality table, the present value of a SLA and

a JSA can be compared to determine whether they are actuarially equivalent.

       45.     Changes to interest rates or mortality assumptions can have dramatic effects on the

conversion factor and the value of a JSA. Using an antiquated mortality table generates lower

present values of future payments, and the amount of the monthly benefit under a JSA decreases.

       46.     As discussed, plans must use reasonable interest rates and reasonable mortality

tables to evaluate whether the present values of benefit options produce equivalent benefits for

participants and beneficiaries.

B.     The Plan Does Not Use Reasonable Actuarial Factors to Calculate JSAs.




10
       Available at: https://www.irs.gov/pub/irs-drop/n-16-50.pdf
11
       Available at: https://www.irs.gov/pub/irs-drop/n-17-60.pdf


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       47.     A-B uses the UP-84 table and an interest rate of either 6.5% or 7% to convert the

SLA that participants earned to a JSA.

       48.     Using the UP-84 table to calculate actuarially equivalent benefits is unreasonable

because it is severely outdated and does not “reflect anticipated events” (i.e. the anticipated

mortality rates of participants).

       49.     The UP-84 table is roughly 45 years out of date (see supra paragraph 5), and as

such it overstates mortality rates. According to the Centers for Disease Control and Prevention, a

65-year-old had an average life expectancy of 16.1 years in 1975). 12 In 2010, a 65-year-old had a

19.1-year life expectancy, an increase of over 18%, which would result in an additional 3 years of

annuity payments. Accordingly, by 2010, the average employee would have expected to receive,

and the average employer would have expected to pay, benefits for a substantially longer amount

of time than in 1975.

       50.     Using the UP-84 table decreases the values of the JSAs relative to the SLA that

participants earned, thereby materially reducing the monthly benefits that retirees and beneficiaries

receive in comparison to the monthly benefits they would receive if the Plan used updated,

reasonable mortality assumptions.

       51.     Defendant knew or should have known that the UP-84 table was outdated and

unreasonable and that using it produced lower monthly benefits for participants and beneficiaries

receiving a JSA.

       52.     Under Generally Accepted Accounting Principles (“GAAP”), mortality

assumptions “should represent the ‘best estimate’ for that assumption as of the current



12
       See https://www.cdc.gov/nchs/data/hus/2011/022.pdf




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measurement date.” 13 Importantly, Anheuser-Busch InBev SA/NA, the holding company that

owns Defendant and its affiliates, uses up-to-date actuarial assumptions when calculating pension

plan costs in its audited financial statements that it prepares with the assistance of an independent

auditor. It filed audited financial statements prepared in accordance with GAAP with the SEC in

on Form 20-f (“20-f”) for the year ending December 31, 2014 which provides:

       Actuarial assumptions are established to anticipate future events and are used in
       calculating pension and other long-term employee benefit expense and liability. These




13
       As noted in a “Financial Reporting Alert” by Deloitte:

           Many entities rely on their actuarial firms for advice or recommendations
           related to demographic assumptions, such as the mortality assumption.
           Frequently, actuaries recommend published tables that reflect broad-based
           studies of mortality. Under ASC 715-30 and ASC 715-60, each
           assumption should represent the “best estimate” for that assumption as of
           the current measurement date. The mortality tables used and adjustments
           made (e.g., for longevity improvements) should be appropriate for the
           employee base covered under the plan. Last year, the Retirement Plans
           Experience Committee of the Society of Actuaries (SOA) released a new
           set of mortality tables (RP-2014) and a new companion mortality
           improvement scale (MP-2014). Further, on October 8, 2015, the SOA
           released an updated mortality improvement scale, MP-2015, which shows
           a decline in the recently observed longevity improvements. Although
           entities are not required to use SOA mortality tables, the SOA is a leading
           provider of actuarial research, and its mortality tables and mortality
           improvement scales are widely used by plan sponsors as a starting point
           for developing their mortality assumptions. Accordingly, it is advisable for
           entities, with the help of their actuaries, to (1) continue monitoring the
           availability of updates to mortality tables and experience studies and (2)
           consider whether these updates should be incorporated in the current-year
           mortality assumption.

See Deloitte, Financial Reporting Considerations Related to Pension and Other Postretirement
Benefits, Financial Reporting Alert 15-4, October 30, 2015 at 3.
https://www2.deloitte.com/content/dam/Deloitte/us/Documents/audit/ASC/FRA/2015/us-aers-
fra-financial-reporting-considerations-related-to-pension-and-other-postretirement-benefits-
103015.pdf


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       factors include assumptions with respect to interest rates, rates of increase in health care
       costs, rates of future compensation increases, turnover rates, and life expectancy. 14

       53.     Moreover, the financial statement “weighted average assumptions used in

computing the benefit obligations of the company’s significant plans at the balance sheet date”

assumed that the life expectancy for a 65-year old male in the United States was 85 years, and the

life expectancy for a 65-year old female in the United States was 88 years, 15 closely following the

RP-2014 mortality table released by the Society of Actuaries in 2014.

       54.     Anheuser-Busch InBev SA/NA’s Form 20-f for the year ending December 31, 2014

stated that “increases in life expectancy will result in an increase” of the liabilities of its defined

benefit plans, including the Plan. 16

       55.     Anheuser-Busch InBev SA/NA’s Form 20-f in the years since 2014 have continued

to use updated, modern assumptions to calculate the present value of its pension obligations,

stating in the year ending December 31, 2019 that the “[t]he assumptions used to value defined

benefit liabilities are based on actual historical experience, plan demographics, external data

regarding compensation and economic trends." 17

       56.     The UP-84 table, which is a unisex table, assumes that 65-year old males and

females will live to only age 80. Accordingly, in the audited financial statements, Anheuser-Busch

InBev SA/NA reasonably assumed that men would live 5 years longer and women would live


14
       See Anheuser-Busch InBev SA/NV’s Form 20-f for year ending December 31, 2014 at F-
21, available at: https://www.ab-inbev.com/content/dam/universaltemplate/ab-
inbev/investors/reports-and-filings/sec-filings/20F_24032015.pdf
15
       Id. at F-47.
16
       See Anheuser-Busch InBev SA/NV’s Form 20-f for year ending December 31, 2014 at F-
47, available at: https://www.ab-inbev.com/content/dam/universaltemplate/ab-
inbev/investors/reports-and-filings/sec-filings/20F_24032015.pdf
17
       See Anheuser-Busch InBev SA/NV’s Form 20-f for year ending December 31, 2019 at 76,
available              at:          https://www.ab-inbev.com/content/dam/universaltemplate/ab-
inbev/investors/reports-and-filings/sec-filings/ABI%20-%20FY19%2020-F_Bannerless.pdf


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approximately 8 years longer than A-B did in calculating the amount payable to Plan participants

receiving JSAs.

       57.     Anheuser-Busch InBev SA/NA used reasonable actuarial assumptions to report a

greater liability for benefits than A-B was paying out using the unreasonable UP-84 table. There

is no reasonable justification for A-B to use an old mortality table that presumes an early death

and an early end to benefit payments in order to calculate an unfairly low annual benefit for

participants, while at the same time using a reasonable mortality table to project a longer duration

of these very same annual benefit payments for annual financial reporting.

       58.     Since these two analyses measure the length of the very same lives and the very

same benefit streams, they should use the same mortality assumptions. “ERISA did not leave plans

free to choose their own methodology for determining the actuarial equivalent of the accrued

benefit; rather we stated, ‘If plans were free to determine their own assumptions and methodology,

they could effectively eviscerate the protections provided by ERISA’s requirement of actuarial

equivalence.’” Laurent v. Price WaterhouseCoopers LLP, 794 F.3d 272 (2d Cir. 2015) quoting,

Edsen v. Bank of Boston, 229 F.3d 154, 164 (2d Cir. 2000).

       59.     Although A-B used updated mortality assumptions to calculate the present value of

benefits under the Plan for its shareholders, A-B knowingly and wrongfully used the UP-84 table

that is several decades out-of-date to convert the SLAs to JSAs under the Plan. A-B has used the

same actuarial assumptions since at least 2001 to calculate JSAs even though the UP-84 fails to

reflect the improvements in life expectancies.

       60.     A-B knowingly misrepresented to participants that the JSAs were actuarially

equivalent to the SLAs to reduce the amount of benefits they were obligated to pay retirees who

selected a JSA or a CLA.




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       61.      During the relevant period, A-B’s use of the UP-84 table to calculate JSAs was

unreasonable.

       62.      Had the Plan used reasonable actuarial assumptions, such as the Treasury

Assumptions, Plaintiff and other participants and beneficiaries would have received, and would

continue to receive, actuarially equivalent benefits that are greater than the benefits they currently

receive.

       63.      The chart below compares the amount that a Plan participant who is 65-years old

(with a 65-year-old spouse) who accrued an SLA of $1,000/month would receive per month if she

elected to receive her benefits in the form of a 50% or 100% JSA, using the 2018 Treasury

Assumptions and the Plan’s actuarial assumptions:

                             2018              UP-84/6.5%          UP-84/7%
                             Treasury
                             Assumptions
           SLA               $1,000            $1,000              $1,000

           50% JSA           $926.67           $902.44             $904.74

           100% JSA          $863.36           $822.22             $826.05


       64.      While the amount of the differences between the 2018 Treasury Assumptions and

the assumptions that A-B uses under the Plan will vary depending on the ages of the participant

and the beneficiary, all participants and beneficiaries who receive a JSA under the Plan are not

receiving an actuarially equivalent form of benefit because the present value is not equal to that of

the SLA that they earned.

       65.      Plaintiff retired at age 65 when his wife was 63 years and 11 months old and accrued

a SLA in the amount of $1,021.64. He is receiving a 50% JSA calculated using the UP-84

mortality table and a 6.5% interest rate that pays him $871.36 a month.              If the Treasury




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Assumptions were applied, Plaintiff’s benefit would be $905.16, or $33.80 more each month. By

using the UP-84 and a 6.5% interest rate, A-B reduced the present value of Plaintiff’s benefits at

the time of his retirement by $4,385.50.

       66.     Discovery will likely show that Defendant’s use of unreasonable actuarial

assumptions deprived retirees and their spouses of tens of millions of dollars.

       67.     Because each of the Sub-Parts use a grossly outdated, unreasonable mortality table

throughout the relevant time period, the benefits paid to participants and beneficiaries who receive,

and continue to receive, JSAs are not actuarially equivalent to what they would have received if

they had selected an SLA, in violation of ERISA. § 205(d)(1)(B), 29 U.S.C. § 1055(d)(1)(B) and

ERISA § 205(d)(2)(A), 29 U.S.C. § 1055(d)(2)(A).       Rather, the benefits payable under JSAs are

much lower than they should be.

                              CLASS ACTION ALLEGATIONS

       68.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of himself and the class (the “Class”) defined as follows:

               All participants and beneficiaries of the Plan who are receiving a
               joint and survivor annuity or a qualified pre-retirement survivor
               annuity. Excluded from the Class are Defendant and any individuals
               who are subsequently to be determined to be fiduciaries of the Plan.

       69.     The members of the Class are so numerous that joinder of all members is

impractical. Upon information and belief, the Class includes thousands of persons.

       70.     Plaintiff’s claims are typical of the claims of the members of the Class because

Plaintiff’s claims and the claims of all Class members arise out of the same policies and practices

as alleged herein, and all members of the Class are similarly affected by Defendant’s wrongful

conduct.




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        71.     There are questions of law and fact common to the Class and these questions

predominate over questions affecting only individual Class Members. Common legal and factual

questions include, but are not limited to:

                A.       Whether the Plan’s formulae for calculating JSAs provide benefits that are

                         truly actuarially equivalent to those that would be paid under an SLA;

                B.       Whether the Plan’s actuarial assumptions are reasonable;

                C.       Whether the Plan should be reformed to comply with ERISA; and

                D.       Whether Plaintiff and Class Members should receive additional benefits.

        72.     Plaintiff will fairly and adequately represent the Class and has retained counsel

experienced and competent in the prosecution of ERISA class actions. Plaintiff has no interests

antagonistic to those of other members of the Class. Plaintiff is committed to the vigorous

prosecution of this action and anticipates no difficulty in the management of this litigation as a

class action.

        73.     This action may be properly certified under either subsection of Rule 23(b)(1).

Class action status is warranted under Rule 23(b)(1)(A) because prosecution of separate actions

by the members of the Class would create a risk of establishing incompatible standards of conduct

for Defendant. Class action status is warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of

other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

        74.     In the alternative, certification under Rule 23(b)(2) is warranted because Defendant

has acted or refused to act on grounds generally applicable to the Class, thereby making appropriate




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final injunctive, declaratory, or other appropriate equitable relief with respect to the Class as a

whole.

         75.    In the alternative, certification under Rule 23(b)(3) is warranted because the

questions of law or fact common to the members of the class predominate over any questions

affecting only individual members, and a class action is superior to other available methods for the

fair and efficient adjudication of the controversy.

                                FIRST CLAIM FOR RELIEF
                               Declaratory and Equitable Relief
                           (ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3))

         76.    Plaintiff re-alleges and incorporates herein by reference all prior allegations in this

Complaint.

         77.    The Plan improperly reduces annuity benefits for participants who receive either a

JSA below the benefits that they would receive if those benefits were actuarially equivalent to a

SLA as ERISA requires.

         78.    ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or beneficiary

to bring a civil action to: “(A) enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this title or the terms of the plan.”

         79.    Pursuant to this provision, 28 U.S.C. §§ 2201 and 2202, and Federal Rule of Civil

Procedure 57, Plaintiff seeks declaratory relief, determining that the Plan’s established

methodologies for calculating actuarial equivalence of JSAs violates ERISA because they do not

provide actuarially equivalent benefits as required by ERISA § 205, 29 U.S.C. § 1055. By not

providing actuarially equivalent benefits, Defendant has also violated ERISA’s anti-forfeiture

clause, ERISA § 203(a), 29 U.S.C. § 1053(a).




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        80.     Plaintiff further seeks orders from the Court providing a full range of equitable

relief, including but not limited to:

                (a)     re-calculation and correction of benefits previously paid JSAs;

                (b)     an “accounting” of all prior benefits and payments;

                (c)     a surcharge;

                (d)     disgorgement of amounts wrongfully withheld;

                (e)     disgorgement of profits earned on amounts wrongfully withheld;

                (f)     a constructive trust;

                (g)     an equitable lien;

                (h)     an injunction against further violations; and

                (i)     other relief the Court deems just and proper.

                             SECOND CLAIM FOR RELIEF
      For Reformation of the Plan and Recovery of Benefits Under the Reformed Plan
                       (ERISA § 502(a)(1), 29 U.S.C. § 1132(a)(1))

        81.     Plaintiff re-alleges and incorporates herein by reference all prior allegations in this

Complaint.

        82.     ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or beneficiary

to bring a civil action to: “(A) enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this title or the terms of the plan.”

        83.     The Plan improperly reduces annuity benefits for participants who receive JSAs

below the benefits that they would receive if those benefits were actuarially equivalent to an SLA

as Section 205 ERISA requires. By not providing actuarially equivalent benefits, Defendant has

violated ERISA’s anti-forfeiture clause, ERISA § 203(a), 29 U.S.C. § 1053(a).




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       84.     Plaintiff is entitled to reformation of the Plan to require Defendant to provide

actuarially equivalent benefits.

       85.     ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B), authorizes a participant or

beneficiary to bring a civil action to “recover benefits due to him under the terms of his plan, to

enforce his rights under the terms of the plan, or to clarify his rights to future benefits under the

terms of the plan.”

       86.     Plaintiff seeks to recover actuarially equivalent benefits, to enforce his rights to the

payment of past and future actuarially equivalent benefits, and to clarify his rights to future

actuarially equivalent benefits, under the Plan following reformation.

                             THIRD CLAIM FOR RELIEF
                               Breach of Fiduciary Duty
              (ERISA §§ 1104 and 502(a)(3), 29 U.S.C. §§ 1104 and 1132(a)(3))

       87.     Plaintiff re-alleges and incorporates herein by reference all prior allegations in this

Complaint.

       88.     A-B is the Plan Administrator and the Plan’s named fiduciary.

       89.     ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under

§ 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform fiduciary

functions. Thus, a person is a fiduciary to the extent “(i) he exercises any discretionary authority

or discretionary control respecting management of such plan or exercises any authority or control

respecting management or disposition of its assets, (ii) he renders investment advice for a fee or

other compensation, direct or indirect, with respect to any moneys or other property of such plan,

or has any authority or responsibility to do so, or (iii) he has any discretionary authority or

discretionary responsibility in the administration of such plan.” ERISA § 3(21)(A), 29 U.S.C.

§ 1002(21)(A). This is a functional test. Neither “named fiduciary” status nor formal delegation is




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required for a finding of fiduciary status, and contractual agreements cannot override finding

fiduciary status when the statutory test is met.

        90.     ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), provides that a fiduciary shall

discharge its duties with respect to a plan in accordance with the documents and instruments

governing the plan insofar as the Plan is consistent with ERISA.

        91.     The Plan is not consistent with ERISA because it uses the outdated UP-84 mortality

table to calculate JSAs. As a result, the Plan’s calculation of JSAs produces results that are not

actuarially equivalent resulting in participants and beneficiaries illegally forfeiting and losing

vested benefits in violation of ERISA.

        92.     In following the Plan, which did not conform with ERISA, A-B breached its

fiduciary duties.

        93.     ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or beneficiary

to bring a civil action to: “(A) enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this title or the terms of the plan.”

        94.     Pursuant to this provision, 28 U.S.C. §§ 2201 and 2202, and Federal Rule of Civil

Procedure 57, Plaintiff seeks declaratory relief, determining that the Plan’s established

methodologies for calculating actuarial equivalence of JSAs violates ERISA because it does not

provide an actuarially equivalent benefit.

        95.     Plaintiff further seeks orders from the Court providing a full range of equitable

relief, including but not limited to:

                (a)     re-calculation, correction, and payments of benefits actuarially equivalent

to JSAs;




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               (b)    an “accounting” of all prior benefits and payments;

               (c)    a surcharge;

               (d)    disgorgement of amounts wrongfully withheld;

               (e)    disgorgement of profits earned on amounts wrongfully withheld;

               (f)    a constructive trust;

               (g)    an equitable lien;

               (h)    an injunction against further violations; and

               (i)    other relief the Court deems just and proper.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant on all claims

and requests that the Court awards the following relief:

       A.      Certifying this action as a class action pursuant to Rule 23 of the Federal Rules of

Civil Procedure;

       B.      Declaring that the Plan fails to properly calculate and pay JSAs that are actuarially

equivalent to the SLA, in violation of ERISA;

       C.      Ordering Defendant to bring the Plan into compliance with ERISA, including, but

not limited to, reforming the Plan to bring it into compliance with ERISA with respect to

calculating actuarially equivalent JSAs;

       D.      Ordering Defendant to correct and recalculate benefits that have been paid;

       E.      Ordering Defendant to provide an “accounting” of all prior payments of benefits

under the Plan to determine the proper amounts that should have been paid;

       F.      Ordering Defendant to pay all benefits improperly withheld, including under the

theories of surcharge and disgorgement;




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       G.      Ordering Defendant to disgorge any profits earned on amounts improperly

withheld;

       H.      Imposition of a constructive trust;

       I.      Imposition of an equitable lien;

       J.      Reformation of the Plan;

       K.      Ordering Defendant to pay future benefits in accordance with ERISA’s actuarial

equivalence requirements;

       L.      Ordering Defendant to pay future benefits in accordance with the terms of the Plan,

as reformed.

       M.      Awarding, declaring, or otherwise providing Plaintiff and the Class all relief under

ERISA § 502(a), 29 U.S.C. § 1132(a), or any other applicable law, that the Court deems proper,

and such appropriate equitable relief as the Court may order, including an accounting, surcharge,

disgorgement of profits, equitable lien, constructive trust, or other remedy;

       N.      Awarding to Plaintiff’s counsel attorneys’ fees and expenses as provided by the

common fund doctrine, ERISA § 502(g), 29 U.S.C. § 1132(g), and/or other applicable doctrine;

and

       O.      Any other relief the Court determines is just and proper.

Dated: July 31, 2020                                   Respectfully submitted,


                                                       /s/ Mark G. Boyko
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